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H o n. Si d n e y H. St ei n
M a y 1 5, 2 0 2 4
Pa ge 2

dis cl os e d his dis c ussi o ns wit h c o u ns el. A c c or di n g t o t h e g o v er n m e nt’s n ot es of its i nt er vi e w
wit h Uri b e, Uri b e d es cri b e d his c o n v ers ati o ns w it h c o u ns el l e a di n g u p t o Mr. L e wi n’s att or n e y
pr off er. Uri b e als o e x pl ai n e d t h at h e “ a ut h ori z e d his att or n e ys t o s a y t h at [ Uri b e’s p a y m e nts f or
t h e c ar w er e a l o a n] t o t h e g o v er n m e nt a n d [ his] att or n e ys t ol d t h at t o t h e g o v er n m e nt. ” 2

Kri e g er L e wi n’s “i nt er n al m e m or a n d a, n ot es, d o c u m e nts a n d c o m m u ni c ati o ns, as w ell as a n y
c orr es p o n d e n c e a n d d o c u m e nts fr o m, t o, or wit h J os e Uri b e, r e g ar di n g t h e st at e m e nts b y c o u ns el
f or Mr. Uri b e t h at N a di n e M e n e n d e z w o ul d p a y J os e Uri b e b a c k f or t h eir c ar p a y m e nts ” m a y
h a v e o n c e b e e n pri vil e g e d. T h e y ar e n o l o n g er.

2.         S e n at or M e n e n d e z’s S u b p o e n a f or K as o wit z ’s C o m m u ni c ati o ns Wit h L a w E nf or c e m e nt
           Is N arr o wl y T ail or e d

S e n at or M e n e n d e z s u b p o e n a e d d o c u m e nts a n d c o m m u ni c ati o ns b et w e e n Uri b e or his c o u ns el
a n d l a w e nf or c e m e nt a g e n ci es, i n cl u di n g U S A O a n d t h e F BI aft er e x h a usti n g R ul e 1 6 dis c o v er y.
O ur r e q u est w as h ar dl y a s h ot i n t h e d ar k. Uri b e’s c urr e nt c o u nsel s p o k e wit h t h e g o v er n m e nt at
l e ast a d o z e n ti m es b et w e e n O ct o b er 2 0 2 3 a n d M ar c h 2 0 2 4 a c c or di n g t o n ot es pr o d u c e d b y t h e
g o v er n m e nt. Uri b e m et wit h t h e g o v er n m e nt n o f e w er t h a n ni n e ti m es d uri n g t h e s a m e p eri o d.
Y et t h e g o v er n m e nt pr o d u c e d o n e pi e c e of c orr es p o n d e n c e wit h Uri b e’s c urr e nt c o u ns el: a pl e a
a gr e e m e nt a d dr ess e d t o c o u ns el. I n li g ht of r e c e nt dis c o v eri es i n ot h er c as es r e g ar di n g wit h h el d
c o m m u ni c ati o ns b y t h e g o v er n m e nt, 3 a n d t h e li k eli h o o d t h at d ef e ns e c o u ns el f or Uri b e h a d
writt e n c orr es p o n d e n c e wit h t h e g o v er n m e nt d ur i n g t h e r el e v a nt p eri o d, t h e s u b p o e n a t o
K as o wit z s h o ul d n ot b e q u as h e d.

I n d e e d, d ef e ns e c o u ns el d o es n ot dis p ut e t he e xist e n c e of r es p o ns i v e c o m m u ni c ati o ns —if
c o u ns el m a k es s u c h a r e pr es e nt ati o n, S e n at or M e n e n d e z will wit h dr a w his s u b p o e n a. I nst e a d,
c o u ns el r efl e xi v el y ar g u es t h at t h e s u b p o e n a is b ur d e ns o m e, a n d t h us i m pr o p er. S u c h C hi c k e n-
Littl e cl ai ms of b ur d e n s h o ul d b e r ej e ct e d. It w o ul d t a k e c o u ns el mi n ut es t o s e ar c h his e m ail f or
c o m m u ni c ati o ns wit h a h a n df ul of att or n e ys ( a n d p er h a ps F BI s pe ci al a g e nts). C o u ns el c o ul d
h a v e c o m pl et e d t h e s e ar c h a n d pr o d u c e d m at eri al i n f ar l ess ti m e t h a n it t o o k t o pr e p ar e its
M oti o n t o Q u as h.



2
  I d.
3
   I n U nit e d St at es v. A h uj a et al. , 1 8 Cr. 3 2 8 ( S. D. N. Y.), t h e pr os e c ut ors r e pr es e nt e d t o t h e C o urt
t h at t h er e w as n o c orr es p o n d e n c e wit h a c o o p er ati n g d ef e n d a nt’s co u ns el r e g ar di n g t h e s u bst a n c e
of his pl e a all o c uti o n. T h at r e pr es e nt ati o n w as f als e, as t h e pr os e c ut ors r e dli n e d t h e pl e a
all o c uti o n — a f a ct t h at w as dis c o v e r e d o nl y aft er tri al w h e n c o u ns el iss u e d a F OI A r e q u est t o t h e
g o v er n m e nt. T his r es ult e d i n r e v ers al of d ef e n d a nts’ c o n vi cti o n.
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H o n. Si d n e y H. St ei n
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F or t h e r e as o ns st at e d a b o v e, S e n at or M e n e n d e z r es p e ctf ull y r e q u ests t h at Y o ur H o n or d e n y t h e
M oti o n t o Q u as h a n d or d er Uri b e a n d his c o u ns el t o i m m e di at el y pr o d u c e r es p o nsi v e m at eri al.




                                                                    V er y tr ul y y o urs,

                                                                             /s/ A d a m F e e
                                                                             A da m Fee
                                                                             A vi W eit z m a n

                                                                             Att or n e ys f or D ef e n d a nt R o b ert M e n e n d ez
